        Case 1:16-cr-00436-KMW Document 209 Filed 04/02/18 Page 1 of 1
                                        U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    April 2, 2018

BY ECF and BY E-MAIL

The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:    United States v. Stuart Manashil, S8 16 Cr. 436 (KMW)

Dear Judge Wood:

       On March 30, 2018, the above-referenced defendant, Stuart Manashil, entered a guilty plea,
before Magistrate Judge Moses, to Count One of the S8 Superseding Information. The
Government respectfully requests that Your Honor accept the defendant’s March 30, 2018 guilty
plea. Enclosed please find for your consideration (1) a proposed Order accepting the defendant’s
guilty plea; (2) the transcript of the plea proceeding; and (3) a copy of the S8 Superseding
Information to which Mr. Manashil pleaded guilty.


                                                Respectfully submitted,

                                                GEOFFREY S. BERMAN
                                                United States Attorney
                                                Southern District of New York


                                         By:    /s___________________________
                                                Noah Solowiejczyk
                                                Katherine Reilly
                                                Ryan Finkel
                                                Assistant United States Attorneys
                                                (212) 637-2473/6521/6612

Enclosures

cc:    Richard Rosenberg, Esq. (by e-mail)
